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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
JOSUE ROMERO, on behalf of himself and all
others similarly situated,
                                                                      No. 20 CV 7666-LTS-KNF
                                   Plaintiff,

                 -against-                                            ORDER OF DISMISSAL

RELIEFBAND TECHNOLOGIES LLC,

                                    Defendant.
-------------------------------------------------------x

                 The attorneys for the parties have advised the Court that this putative class action

has been or will be settled. Accordingly, it is hereby ORDERED that this action is dismissed with

prejudice as to the named plaintiff and without prejudice as to all other plaintiffs and without costs

to either party, but without prejudice to restoration of the action to the calendar of the undersigned

if settlement is not achieved within thirty (30) days of the date of this Order. If a party wishes to

reopen this matter or extend the time within which it may be settled, the party must make a letter

application before this thirty (30)-day period expires.

                 The parties are advised that if they wish the Court to retain jurisdiction in this matter

for purposes of enforcing any settlement agreement, they shall submit the settlement agreement to

the Court to be so ordered.

        SO ORDERED.

Dated: New York, New York
       November 4, 2020


                                                                       /s/ Laura Taylor Swain
                                                                       LAURA TAYLOR SWAIN
                                                                       United States District Judge




ROMERO - 30 DAY ORD.DOCX                                   VERSION NOVEMBER 4, 2020                     1
